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 September 13, 2022

 Via ECF

 Hon. Vera M. Scanlon
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East, 1214 South
 Brooklyn, NY 11201

          Re:    Ruben Wills v. Microgenics Corporation et al., 20-cv-04432 (BMC) (VMS)

 Dear Judge Scanlon,

 We represent Plaintiff Ruben Wills is the above-caption action and submit this letter requesting a
 brief extension of the time to submit a status letter to the Court.

 Plaintiff’s counsel has had to take over a trial this week, at the last minute. Co-counsel, who was
 going to try the case, had a family emergency and now we need to handle the trial. Consequently,
 we have not had the opportunity to confer with Defendants and to draft the status letter. We
 respectfully request that the deadline be extended to Friday, September 16, 2022.

 This is the first request for an extension of this deadline. Counsel for the State of New York
 Defendants consent, and Counsel for the Thermofisher Defendants have not yet responded to the
 request, although we do not anticipate any objection.


 Respectfully,

    /s/

 Rob Rickner




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